                      IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION
                          CASE NO. 3:23-CV-299-MOC-DCK

 TERECITA DEJESUS PLASENCIA and                  )
 ROBERT PETER PAUL JAKAITIS,                     )
                                                 )
                 Plaintiffs,                     )                    ORDER
                                                 )
    v.                                           )
                                                 )
 LOWE’S COMPANIES, INC,                          )
                                                 )
                 Defendant.                      )
                                                 )

         THIS MATTER IS BEFORE THE COURT on “Plaintiffs’ . . . Motion For Sanctions”

(Document No. 52) filed December 2, 2024. This motion has been referred to the undersigned

Magistrate Judge pursuant to 28 U.S.C. § 636(b), and is ripe for disposition. Having carefully

considered the motion and the record, the undersigned will deny the motion.

         Plaintiffs, appearing without counsel, contend that Defendant deliberately attached and

quoted “from privileged materials related to State v. Plasencia, Case No. 22CR369222-590

(Mecklenburg County Superior Court).” (Document No. 52, p. 1) (citing Document No. 48).

Plaintiffs contend that Defendant’s action warrants sanctions. (Document No. 52, p. 2).

         “Defendant’s Response To Plaintiffs’ Motion For Sanctions” (Document No. 54) was filed

on December 9, 2024. Defendant contends that Plaintiffs’ request for sanctions “should be

summarily denied because it lacks any factual or legal basis.” (Document No. 54, p. 2). Defendant

further contends that the attachment it filed to Document No. 48 was “a copy of the public record

from the Huntersville Police Department” and “[t]he document clearly states ‘Public Release

Incident Report.’” Id. (citing Document No. 48-2). Defendant states that it “has not filed with the

Court any ‘privileged materials’ or confidential information.” Id.




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       Plaintiffs have failed to file a reply brief in support of the pending motion, or a notice of

intent not to reply, as required by Local Rule 7.1(e).

       The undersigned finds Defendant’s response to be persuasive; moreover, Plaintiffs have

failed to refute that the information disclosed by Defendant was already available to the public.

       IT IS, THEREFORE, ORDERED that “Plaintiffs’ . . . Motion For Sanctions” (Document

No. 52) is DENIED.

       SO ORDERED.

                        Signed: January 22, 2025




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